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ae U.S. Department of Justice
ey Office of the Deputy Attorney General:

The Deamity Atorney Genera! tetingion:, DC. 20530

October 19, 2006

MEMORANDUM
TO 7 | | Holders of ihe United States Atiomneys’ Manual, Title. 9
FROM: . _. THEDEPUTY ATTORNEY GENERAL Ry oud
SUBJECT: | a : Principles of Federa} Prosecution
“NOTE: (1. This is issued pursuant to USAM 1-1.550.

- 9, Distribute to Holders of Title 9.
"3. Insert in front of affected sections.

 APFECTS: 0 9-5.000

-. PURPOSE: .- | The Department of Justice is proud of the long record of federal
‘prosecutors meeting or exceeding their obligation, pursuant to Brady v. —
oon Maryland and Giglio v. United States, 10 disclose exculpatory and — a
“_ jmpeachment evidence io criminal defendants in preparation for tial. The fo *
~ purposes of this amendment to the U.S. Attomeys’ Manual are to ensure me
that al) federal prosecutors are fully aware of their constitutional obligation 0...
to disclose exculpatory and impeachment evidence, and to further develop oe
- the Department's guidance-1o federal prosecutors in relation te disclosure = |
- of information favorable to a defendant. The policy embodied in this
-. pluesheet requires prosecutors to go beyond the minimum obligations
required by the Constitution and establishes broader standards for the
disclosure of exculpatory and impeachment information. Itrequires
_ prosecutors to lake the necessary steps to fulfil] their constitetional
_ disclosure obligation and further, to make disclosure ina manner andioan
extent thal promotes fair proceedings. At the same time, the policy oo
‘recognizes the need to safeguard witnesses from harassment, assauli, and
intimidation and to make disclosure at a time and in a manner consistent |
with the needs of national security. ,

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Memorandum Holders of the United States Attomeys” Manual Title 9
Subject: Principles of Federal Prosecution Page 2

The policy embodied in this bluesheet is miended lo be flexible yet
produce regularity. As first stated in the preface to the original 1980
edition of the Principles of Federal Prosecution, “they have been cast in
general terms with a view 1o providing guidance rather than to mandating
yesults. The intent is to assure regularity without regimentation, to prevent
unwarranted disparity without sacrificing flexibility.” Through the use of
circumscribed standards and principles outlined herein, federa] prosecutors
must exercise their judgment and discretion so as to build confidence in
criminal trials and the criminal justice system, while protecting national .
security, keeping witnesses safe and allowing {or efficient resolution of
Cases.

The bluesheet creates a new section 9-5.001 and amends section 9-5.106 in your United »
_.. States Attomeys’ Manual. Ce

> Attachment...”
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INEW SECTION] USAM § 9-5.001

POLICY REGARDING DISCLOSURE OF EXCULPATORY AND IMPEACHMENT
INFORMATION

A Purpose. Consistent with applicable federal statutes, rules, and case law, the policy set
forth here is intended 10 promoie regulanty in disclosure practices, through the reasoned
and guided exercise of prosecutorial judgment and discretion by attorneys for ihe
government, with respect to the governnient’s ob.igetion both to fisclose exculpatory and
impeachment information to crimina] defendants and to seek a just result in every case.
The policy is intended to ensure umely disclosure of an appropriaie scope of exculpatory
and impeachment information so as to ensure that trials are fair. The policy, however,
recognizes that other interests, such as witness security and national security, are also
critically imporlant, see USAM § 9-21.000, and that if disclosure prior to trial might
jeopardize these interests, disclosure may be delayed or restricted (e.g. pursuant to the

» Classified Information Procedures Act). This policy is nol a substitute for researching fhe
‘Jegal issues that may arise in an individual case. Additionally, this policy does not alter or
_ supersede the policy that requires prosecutors 10 disclose “substantial evidence that
_-. directly negates the guilt ofa subject of the investigation” to the grand jury before seeking
“an Indictment, see USAM § 9-11.233. ‘

“B.  -Constitutional obligation to ensure a fair trial and disclose material excuipatory and
“co. impeachment evidence, Government disclosure of material exculpaiory and
- Impeachment evidence is pari of the constitutional guarantee to a fair trial. Brady v.
Maryland, 373 U.S. 83, 87 (1963); Giglio v. United States, 405 ULS.150, 154 (972).
The law requires the disclosure of exculpatory and impeachment evidence when such —
- .. evidence is material to guilt or punishment. Brady, 373 U.S. at'87; Giglio, 405 U.S. at
154. Because they are Constitutional obligations, Brady and Giglio evidence must be
disclosed regardless of whether the defendant makes a request for exculpatory or
impeachment evidence. Ayles v, Whitley, 514 U.S. 419, 432-33 (1995). Neither the
. Constitution nor this policy, however, creates a general discovery. night for trial
-'” preparation or plea negotiations. U.S. v. Ruiz, §36 U.S, 622, 629 (2002); Weatherford v.
“' Bursey, 429 US. 545, 559 (1977). oe a

a Materiality and Admissibility. Exculpaiory and impeachment ‘evidence is
. pnateria] to a finding of guilt - and thus the Constitution requires disclosure ~
when there is a reasonable probability that effective use of the evidence will result —
in an acquittal. United Stares v. Bagley, 475 U.S. 667, 676 (1985). Recognizing
that it js sometimes difficult to assess the materiality of evidence before trial,
prosecutors generally must take a broad view of materiality and err on the side of
- disclosing exculpatory and impeaching evidence. Kyles, 514 U.S. af 439, While ~

"ordinarily, evidence that would not be admissible at trial need not be disclosed,
this policy encourages prosecutors 10 err on the side of disclosure if admissibility ~
is.4 close question,

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2. The prosecution team. It is the obligation of federal prosecutors, in preparing for
trial, to seek all exculpatory and impeachment information from all the members
of the prosecution team. Members of the prosecution team include federal, state,
and Jocal Jaw enforcement officers and other government officials participating in
the investigation and prosecution of the criminal case against the defendant.
Kyles, 514 U.S, at 437.

/ ©: Disclosure of exculpatory and impeachment information beyond tbat which is
constitutionally and legally required. Department policy yecognizes that a fair trial will
often include examination of relevant exculpatory or impeachment information that is
significantly probative of the issues before the courl but that may not, on its own, result in
an acquittal or, as ig often colloquially expressed, make the difference between guilt and
inmocence. As a result, this policy requires disclosure by prosecutors of information
beyond that which is “material” to guilt as arliculated in Kyles v. Whitley, 514 U8. 419
(1995), and Strickler v. Greene, 527 U.S. 263, 280-81 (1999). The policy recognizes,
however, tbat'a trial should not mvoive the consideration of information which is
irrelevant or not significantly probative of the issues before the court and should not —
involve spuriows issues or arguments which serve to divert the trial process from
examining the genuine issues. Information that goes onty to such matters does.not
advance the purpose of a trial and thus is not subject to disclosure. a

I. Additional exculpatory information that must be disclosed. A-prosecutor
‘must disclose information that is inconsistent with any. elemem of any crime’ |.
charged against the defendant or that establishes a recognized affirmative defense,
regardless of whether the prosecutor believes such information will make the

. difference between conviction and acquittal of the defendant for a'‘charged cnme. |

2. Additional Impeachment information {hat must be disclosed. Aprosecutor. -
must disclose information that either casis a substantia! doubt! upon the accuracy.” ,
of any evidence — including but not limited to witness jestimony — the prosecutor
pies intends to rely on io prove an element of any crime charged, or might havea
pe Ee significant bearing on the admissibility of prosecution evidence. This information
ene . must be disclosed regardless of whether it is likely to make the difference between.
conviction and acquittal of the defendant for a charged crime... :

3, Information. Unlike the requirements of Brady and its progeny, which focus on -
evidence, the disclosure requirement of this section applies to information,
regardless of whether the information subject 10 disclosure would itself constiute
admissible evidence. |

4, Cumulative impact of items of information, While iiems of information
siewed in isolation may not reasonably be seen as meeting the standards outlined
in paragraphs | and 2 above, several items together can have-such an effect. If
this is the case, al] such items must be disclosed.
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Timing of disclosure. Due process requires that disclosure of exculpatory and
impeachment evidence material to guill or innocerice be made in sufficient time to permit
the defendant 1o make effective use of thal information at trial. See, ¢.g. Weatherford v.
Bursey, 429 U.S. 545, 559 (1997); United States v. Farley, 2 F.3d 645, 654 (6" Cir,
1993). inmost cases, the disclosures required by the Constitution and this policy will be
made in advance of trial. -

1. Exeulpatory information. Exculpatory information must be disciosed
reasonably promptly after it is discovered. This policy recognizes that exculpatory
information that includes classified or otherwise sensitive national security
material may require cestain protective measures thal may cause disclosure io be
delayed or restricted (e.g. pursuant to the Classified Information Procedures Act).

2. | Impeachment information. Impeachment information, which depends on the

_"_ prasecutor’s decision on who is or may be called as a government witness, will
typically be disclased at a reasonable time before trial to allow. the trial to ‘proceed
efficiently. In some cases, however, a prosecutor may nave to balance the goals of =~

_ early disclosure ageinst other significant interests ~ such as witness security and
national security — and may conclude that it is not appropriate to provide early
disclosure. In such cases, required disclosures may be made at a ime and ina
_» manner consistent with the policy embodied m the Jencks Act, 18 USC. §.3500. .”

3.9 Exeulpatory or impeachment information casting doubt upon sentencing
factors. Exculpatory and impeachment information that casts doubt. upon proof
of an aggravating Jactor al sentencing, bul that does not relate to proof of guilt,
must be disclosed no later than the court’s initial presentence investigation.

4. ‘Supervisory approval and notice to the defendant. A prosecutor must obtain
~ supervisory approval not.to disclose impeachment information before trial or not
10 disclose exculpatory information reasonably promptly because of its classified
nature. Upon such approval, notice must be provided to the defendant of the time.
and mariner by which disclosure of the exculpatory or impeachment information
will be made. De

Comment. This policy establishes guidelines for the exercise of, judgment and discretion
_ by attorneys for the government in determining what information to disclose to # criminal
defendant pursuant to the government's disclosure obligation as set out in Brady v.
Maryland and Giglio v, United States and its obligation to seek justice in every case. AS”
the Supreme Court has explained, disclosure is required when evidence in the possession,
of the prosecutor or prosecution team is material to guilt, innocence or punishment, This
‘policy encourages prosecutors to ert on the side of disclosure in close questions of
materiality and identifies standards that favor greater disclosure in advance of tral
- through the production of exculpatory information that is inconsistent with any element
- of any charged crime and impeachment information thai casts a substantial doubt upon .
_ either the accuracy of any evidence the government intends to rely on to prove an element

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of any charged crime or that might have a significant bearing on the admissibility of
prosecution evidence. Under this policy, the government's disclosure will exceed its
constitutional obligations. This expanded disclosure policy, however, does not create 2
general right of discovery in criminal cases. Nor does it provide defendants with any
additional righis or remedies. Where it is unclear whether evidence or information should
be disclosed, prosecutors are encouraged to reveal stich information to defendants ar to
the court for inspection in camera and, where applicable, seek a protective order from the
Court, By doing so, prosecutors will ensure confidence in fair trials and verdicts.
Prosecutors are also encouraged to undertake periodic raining concerning the

_government’s disclosure obli gation and the emerging case law surrounding that
obligation.
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USAM § 9-5.1008

POLICY REGARDING THE DISCLOSURE TO PROSECUTORS OF POTENTIAL
JMPEACHMENT INFORMATION CONCERNING LAW ENFORCEMENT AGENCY
WITNESSES ("GIGLIO POLICY")

On December 9, 1996, the Attomey General issued a Policy regarding the Disclosure to
Prosecutors of Potential Impeachment Information Concerning Law Enforcement Agency
Witnesses ("Giglio Policy"). 1 appliesto all Department of Justice Investigative agencies that
are named in the Preface, below. On October 19, 2006, the Attorney General amended this
policy to conform to the Depariment’s new policy regarding disclosure of exculpatory and
impeachment information, see USAM & 9-5,001.

The Secretary of the Treasury has issued the same policy for all Treasury investigative
agencies. ce - : os

_ Policy Regarding the Disclosure ta Prosecutors of Potential Impeachment Information
' Concerning Law Enforcement Agency Witnesses ("Giglio Policy")

Preface: The following policy is established for: the Federal Bureau of Investi gation,
Drug Enforcement Administration, Bureau of, Alcohol, Tobacco, Fireanns and Explosives, the |

United States Marshals Service, the Department of Justice Office of the Inspector General, and. oe

the Department of Justice Office of Professional Responsibility ("the investigative agencies"), It”
addresses their disclosure’ of potential impeachment information to the United States. Attorneys’ |

" Offices and Department of Justice litigating sections with authority to prosecute criminal cases
{"Department of Justice prosecuting offices"). The purposes of this policy are to ensure that
_ prosecutors seceive sufficient information ic meet their obligations under Giglio v. Untied States,
405 U.S. 150 (1972), and to ensure that trials are fair, while protecting the legitimate privacy ©. ,
rights of Government employees. NOTE: This policy is not intended to create or confer any -
rights, privileges, or benefits to prospective or actual witnesses or Gefendanis. Fis also not
intended to have the force of law. United States v. Caceres, 440 U.S. 741 { 1979),

‘The exact parameters of potential impeachment information are not easily determined, «
Potential impeachment information, however, hag been generally defined as impeaching
jnformation which is materia) to the defense. H also includes information that either casts a
substantial doubt upon the accuracy of any evidence ~ including witness testimany— the
prosecutor intends to rely on to prove an element of any crime charged, or might have a
significam bearing on the admissibility of prosecution evidence. This information may include
but is not strictly limited 10: (a) specific instances of conduct ofa witness for the purpose of
attacking the witness’ credibility or character for truthfulness; {b} evidence in the form of opinion
or reputation as 10 4 witness’ character for truthfulness; (c) prior inconsistent statements, and (¢)_
jnformation that may be used io suggest that a witness is biased. oO

This policy is not intended 10 replace the obligation of individual agency employees to
inform prosecuting attomeys. with whom they work of potential impeachment information prior.

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io providing a sworn statement or testimony in any investigation or case. In the majority of
investigations and cases in which agency employees may be affiants or witnesses, it is expected
that the prosecuting attorney will be able to obtain al] potential impeachment information directly
from agency witnesses during the normal course of investigations and/or preparation for hearings
‘or trials, .

Procedures for Disclosing Potentia] Impeachment Information Relating tc Department of
Justice Employees

j, .-- Obligation to Disclose Potential Impeachment Information. Jt is expected thai a
prosecutor generally will be able to obtain all potential impeachment information directly
from potential agency witnesses and/or affiants. Bach investigative agency employee ts
obligated 10 infonn prosecutors with whom they work of potential impeachment
information as early as possible prior to providing a sworn statement or testimony in any

criminal investigation or case. Each investigative agency should ensure that its
employees fulfill this obligation, Nevertheless, in some cases, a prosecutor may also
decide 10 request potential impeachment information from the investigative agency. This
policy sets forth procedures for those cases in which a prosecutor decides to make such a
request. :

. 2... Agency Officials. Each of the investigative agencies shall designale.an appropriate a
---.” official{s) to serve as the point(s) of contact conceming Department of Justice employees’.
potential impeachment information ("the Agency Official"), Each Agency Official shall
consult periodically with the relevant Requesting Officials about Supreme Court caselaw,
circuit caselaw, and district court rulings and practice governing the definition and _ a
.. disclosure of impeachment information. me we

3... Requesting Officials. Each of the Department of Justice:prosecuting offices shall
' designate an appropriate senior official(s) to serve as the point(s) of contact concerning:
/.. potential impeachment information (“the Requesting Official"). Each Requesting Official
- shall inform the relevant Agency Officials about Supreme Court caselaw, circuit caselaw,
and district court rulings and practice governing the definition and disclosure of
impeachment information. oo —

4, Request to Agency Officials. When a prosecutor determines that it is necessary to

request! potential impeachment information from an Agency Official(s) relating to.an
agency employee identified as a potential witness or affiani ("the employee") in a specific
criminal case or investigation, the prosecutor shall notify the appropriate Requesting
Official. Upon receiving such notification, the Requesting Official may request potential
impeachment information relating io the employee from the employing Agency
‘Official{s) and the designated Agency Official(s) in the Department of Justice Office of
the Inspector General ("OIG") and the Department of Justice Office.cf Professional
Responsibility ("7DOJ-OPR"). me
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Agency Review and Disclosure. Upon receiving the request described in Paragraph 4,
the Agency Official(s) from the employing agency, the OFG and DOJ-OPR shall each
conduct a review, in accordance with its respective agency plan, for potential
impeachment information regarding the identified employee. The employing Agency
Official{s), the OIG and DOJ-OPR shall advise the Requesiing Official of: (a) any finding
of misconduct that reflecis upon the truthfulness or possible bias of the employee,
including a finding of Jack of candor during an administrative inquiry; (o) any past or
pending criminal charge brought against the employee; end (c) any credible allegation of
misconduct that reflects upon the iruthfulness or possible bias of the employee that is the
subjeci of a pending investigation.

Treatment of Allegations Which Are Unsubstantiated, Not Credible, or Have
Resulted in Exoneration. Allegations that cannot be substantiated, are not credible, or
have resulted in the exoneration of an employee gencrally are not considered to be

. potential impeachment information. Upon request, such information which reflects upon

the truthfulness or bias of the employee, to the exten! maintained by the agency, wil] be

provided to the prosecuting office under the following circumstances: (a) when the

Requesting Official advises the Agency Official qhat if is required by a Court decision in —

the district where the investigation or case is being pursued, (b} when, on or after the.
. effective date of this policy: (i) the allegation was made by a federal prosecutor,

magistrate judge, or judge; or (i) the allegation received publicity; (c) when the

Requesting Official and the Agency Official agree thal such disclosure is appropriate, —
based upon exceptional circumstances involving the nature of ‘the case or the role of the.
agency witness; or (d) when disclosure is otherwise deemed appropriate by the agency.

_ The agency is responsible for advising the prosecuting office, to the extent determined,
whether any aforementioned allegation is unsubstantiated, not credible, or Tesulted inthe | _

employee's exoneration. NOTE: With regard to allegations disclosed to a prosecuting
office under this paragraph, the head of the prosecuting office shal] ensure that special

- gare is taken to protect the confidentiality of such information and the privacy interests

and reputations of agency employee-witnesses, in accordance with paragraph 13 below.
At the conclusion of the case, if such information was not disclosed to the defense, the

- . head of the prosecuting office shall ensure that all materials received from an

investigative agency regarding the allegation, including any and all copies, are
expeditiously returned 10 the investigative agency. This does not prohibit a prosecuting
office from keeping motions, responses, legal memoranda, court orders, and internal

office memoranda or correspondence, in the relevant criminal.case Gie(s),

Prosecuting Office Records. Department of Justice prosecuting offices shall not retain
in any system of records thai can be accessed by the identity of an employe, potential
impeachment information thai was provided by an agency, except where the information.
was disclosed to defense counsel. This policy does nol prohibit Department of Justice.
proseculing offices from keeping motions and Courl orders and supporting documents in -

_ the relevant criminal case file.
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Capies to Agencies. When potential impeachment information received from Agency
Officials has been disclosed to a Couri or defense counsel, the information disclosed,
along with any judicial rulings and rejated pleadings, shall be provided to the Agency
Official that provided the information and to the employing Agency Official for retention
in the employing agency's sysiem of records. The agency shal] maintain judicial rulings
and related pleadings on information that was disclosed to the Court but noi to the
defense in a manner that allows expeditious access upon the request of the Requesting
Official.

Record Retention. When potential impeachment information received from Agency
Officials has been disclosed to defense counsel, the information disclosed, along with any
judicial rulings and related pleadings, may be retained by the Reguesting Official,
together with any relaied correspondence or memoranda, in a system of records that can
be accessed by the identity of the employee. Lo

Updating Records. Before any federal prosecutor uses or relies upon information
included in the prosecuting office's system of records, the Requesting Official shail
contact the relevant Agency Official{s) to determine the status of the potential .
impeachment information and shall add any-2dditional information provided io the
prosecuting office's system of records. Bo

Continuing Duty to Disclose, Each agency plan shall include provisions which will
assure thal, once a request for potential impeachment information has been made, the
prosecuting office will be made aware of any additional potential impeachment .

- 4nformation that arises after such request and during the pendency of the specific criminal

case or investigation in which the employee is a polential witness or affiant. A
prosecuting office which has made a request for potential impeachment information shall.
promptly notify the relevant agency when the specific criminal case or investigation for
which the request was made ends in a judgment or declination, at which time the agency's .
duty to disclose shall cease. tn or .

Removal of Records Upon Transfer, Reassignmeni, or Retirement of Ensployee, | |
Upon being notified that an employee has retired, been transferred to an office in another
judicial district, or been reassigned to a position in which the employee will neither-be an
affiant nor witness, and subsequent to the resolution of any litigation pending in the
prosecuting office in which the employee could be an affiant or witness, the Requesting
Official shall remove from the prosecuting office's system of records any record that can
be accessed by the identity of the employee. | .

Prosecuting Office Plans to Implement Policy. Within 120 days of the effective date of
this policy, each prosecuting office shal] develop a plan to implement this policy. The _
plan shall include provisions that require: (a} communication by the prosecuting office
with the agency about the disclosure of potential impeachment information to the Court.
or defense counsel, including allowing the agency to express ils views on whether certain
information should be disclosed 10 the Court or defense counse!; (b) preserving the

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security and confidentiality of potential impeachment information through proper storage
and restricted access within a prosecuting office; (c) when approprigie, seeking an ex
parte, in camera review and decision by the Court regarding whether potential
impeachment information must be disclosed to defense counsel; {d} when appropriaic,
seeking protective orders to limit the use and further dissemination of potential
impeachment information by defense counsel}, and, (e) allowing the relevant agencies the
timely opportunity to fully express their views.

investigative Agency Plans to Implement Policy, Within 120 days of the effective date
of this policy, each of the investigative agencies shall develop a plan to effectuate this
“policy.
